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     Attorneys for Defendant
  16 Home Depot U.S.A., Inc.
  17                       UNITED STATES DISTRICT COURT
  18                     CENTRAL DISTRICT OF CALIFORNIA
  19
  20 VICTOR PIMENTEL, as an individual         Case No.: 2:21-cv- 03051-ODW-KES
     and on behalf of others similarly
  21 situated,                                 JOINT STIPULATION TO DISMISS
  22              Plaintiff,                   Judge: Hon. Otis D. Wright
                                               Crtrm.: 9D
  23        vs.
  24 HOME DEPOT U.S.A., INC., a
     Delaware corporation, and DOES 1-50,
  25 inclusive,
  26              Defendants.
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                                 JOINT STIPULATION TO DISMISS
Case 2:21-cv-03051-ODW-KES Document 31 Filed 05/11/22 Page 2 of 4 Page ID #:323




   1        Plaintiff Victor Pimentel (“Plaintiff”) and Defendant Home Depot U.S.A.,
   2 Inc. (“Defendant”), hereby stipulate that Plaintiff dismisses this matter in its entirety
   3 without prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).
   4 Plaintiff and Defendant will each bear their own attorneys’ fees and costs. No class
   5 has been certified and this dismissal is without prejudice to putative class members.
   6
   7 DATED: May 11, 2022                    JACKSON LAW, APC
   8
   9 By: Armond M. Jackson                  /s/ Armond M. Jackson
                                            Armond Jackson
  10
  11                                        Attorneys for Plaintiff
                                            VICTOR PIMENTEL
  12
  13 DATED: May 11, 2022                    Ogletree, Deakins, Nash, Smoak &
                                            Stewart, P.C.
  14
  15
       By: Melis Atalay                     /s/ Melis Atalay
  16                                        Evan R. Moses
                                            Aaron H. Cole
  17                                        Melis Atalay
                                            Omar M. Aniff
  18
                                            Attorneys for Defendant Home Depot U.S.A.,
  19                                        Inc.
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                                    JOINT STIPULATION TO DISMISS
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   1                           SIGNATURE CERTIFICATION
   2        Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
   3 Policies and Procedures Manual, I hereby certify that the content of this document is
   4 acceptable to Melis Atalay, counsel for Defendants Home Depot U.S.A. and that I
   5 have obtained counsel’s authorization to affix his electronic signatures to this
   6 document.
   7 DATED: May 11, 2022                   JACKSON LAW, APC
   8
   9                                       By: /S/ ARMOND M. JACKSON
  10                                           Armond M. Jackson
                                               Attorneys for Plaintiff VICTOR
  11                                           PIMENTEL
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                                    JOINT STIPULATION TO DISMISS
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   1                                PROOF OF SERVICE
                                   STATE OF CALIFORNIA
   2
                                    COUNTY OF ORANGE
   3        I am employed in the County of Orange, State of California. I am over the
   4 age of 18 and not a party to the within action. My business address is 2 Venture
     Plaza, Ste. 240, Irvine, CA 92618.
   5
   6         On May 11, 2022 referring to the foregoing document described as:
   7                        JOINT STIPULATION TO DISMISS
   8
       Was served on the interested parties in this action:
   9    Evan R. Moses (SBN 198099)              Attorneys for Defendant
        evan.moses@ogletree.com                 Home Depot U.S.A., Inc.
  10    Aaron H. Cole (SBN 236655)
        aaron.cole@ogletree.com
  11    Melis Atalay (SBN 301373)
        melis.atalay@ogletree.com
  12    Omar M. Aniff (SBN 315446)
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        Facsimile: (213) 239-9045
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  17
  18 (XX) [BY EMAIL OR ELECTRONIC TRANSMISSION] –I caused all of
          the pages of the above-entitled document created as a portable document
  19      file format and attached to a properly addressed electronic mail message to
  20      be sent to the interested parties in this action on the date specified below.
          The email address I used is noted above.
  21
  22      Executed on May 11, 2022, at Irvine, California.
  23 I declare under penalty of perjury under the laws of the State of California that the
  24 foregoing is true and correct.
  25 05/11/2022 __ARMOND JACKSON                       /S/ ARMOND M. JACKSON
  26 DATE       (TYPE OR PRINT NAME)                   (SIGNATURE OF DECLARANT)
  27
  28

                                                -4-                       3:15-CV-00550-JLS-WVG
                                    JOINT STIPULATION TO DISMISS
